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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 COLIN LEI YIN, FANG WANG,
 YUEPING HUANG, and YU                                 Case No. 1:19-cv-02032
 ZHANG, on behalf of themselves
 and all others similarly situated,                    SETTLEMENT
         Plaintiff,                                    AGREEMENT AND
                                                       RELEASE
 v.

 CARIBBEAN BLUEWATERS GROUP, LLC
 d/b/a YIHAN SPA, “Amy” Su (first name
 unknown), and Geoffrey Allard,
              Defendants.



       This Settlement Agreement and Release (“Agreement”) is made by: COLIN LEI YIN,

FANG WANG, YUEPING HUANG, YU ZHANG, Xiao Yin Jin, Jing Yi, Shanshan Huang, and

Haigang Gan (“Plaintiffs”) individually and on behalf of their present and former

representatives, agents, attorneys, heirs, executors, administrators, successors, and assignors, and

CARRIBBEAN BLUEWATERS GROUP LLC, Amy Su (“Defendants” or “Releasing Parties”),

individually and on behalf of their present and former directors, officers, partners, owners,

representatives, agents, attorneys, parents, subsidiaries, affiliates, successors, heirs, executors,

administrators, successors, and assignors. Plaintiff and Defendant are collectively referred to

hereafter as “Settlement Parties.”

       WHEREAS, on or about March 5, 2019 Plaintiffs on behalf of themselves and similarly

situated employees, commenced an action by filing a Complaint encaptioned COLIN LEI YIN,

FANG WANG,, YUEPING HUANG, and YU ZHANG, Civil Action No. 19-cv-02032 in the

United States District Court Southern District of New York (“Litigation”); and collective




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member Xiao Yin Jin, Jing Yi, Shanshan Huang, and Haigang Gan joined this lawsuit

subsequently.

       WHEREAS, the Settlement Parties have determined it to be in their mutual interests to

settle any and all claims or other matters arising out of Plaintiffs’ employment; and

       WHEREAS, Plaintiffs and Defendants have determined it to be in their mutual interest to

dismiss the Litigation with prejudice;

       NOW, THEREFORE, for good and valuable consideration, the receipt of which is

acknowledged hereby, and in consideration of the mutual covenants and undertakings set forth

herein, the Settlement Parties agree as follows:

1.     Mutual Release of Claims

       1.1.     Plaintiffs fully and unconditionally release and forever discharge Defendants from

any and all causes of action, suits, damages, claims, judgments, interest, attorneys' fees,

liquidated damages, punitive damages, costs and expenses whatsoever relating to, or in

connection with, any claims under the Fair Labor Standards Acts (FLSA); any claims under New

York Labor Law (“NYLL”); any claims under the New York Codes, Rules and Regulations,

Articles 6, 7 and 19 of the New York Labor Law;.; any claims under any other federal, state or

local wage and hour law; and any claims for reimbursement, wages, vacation or other leave time

through the effective date of this Agreement (which shall be the date that the Court approves the

terms of the Agreement).

       1.2.     Defendants fully and unconditionally release and forever discharge Plaintiffs,

from any and all causes of action, suits, damages, claims, judgments, interest, attorneys’ fees,

liquidated damages, punitive damages, costs and expenses whatsoever relating to, or in

connection with, any claims under the Fair Labor Standards Acts (FLSA); any claims under New



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York Labor Law (“NYLL”); any claims under the New York Codes, Rules and Regulations,

Articles 6, 7 and 19 of the New York Labor Law; any claims under any other federal, state or

local wage and hour law; and any claims for reimbursement, wages, vacation or other leave time

through the effective date of this Agreement (which shall be the date that the Court approves the

terms of the Agreement).

2.     Termination of the Litigation

       Plaintiffs agree to terminate, discontinue, and dismiss the Litigation in its entirety and in

each and every respect, with prejudice, and to cooperate and to take all necessary and appropriate

action to accomplish the same consistent with the terms of this Agreement. In that connection,

Defendants’ counsel will execute and deliver to Plaintiffs’ Counsel a Stipulation of Dismissal

with Prejudice (“Stipulation”) in the form of the attached Exhibit A, voluntarily dismissing the

Litigation with prejudice. The parties’ counsel shall file the fully-executed Stipulation

immediately upon Court approval of the settlement agreement. The parties agree that Plaintiffs’

counsel has the right to restore the action to the docket for non-payment and that in the event the

case has to be restored the defendants and liability is found, defendants shall have a credit for

any payments which have been made; upon completion of payments

3.     Monetary Consideration

       3.1.    The total monetary consideration to be paid by Defendants to Plaintiffs shall be

$45,000 (“Total Settlement Amount”) which shall be paid in twelve (12) installments

memorialized in the annexed Exhibit C. All installment checks shall be made and delivered to

Plaintiffs’ counsel, Hang and Associates as attorneys, 136-20 38th Ave # 10g, Flushing, New

York 11354, within thirty (30) days of Court approval of the (the “Approval Date). Hang and




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Associates shall be solely responsible for distributing the payments according to the schedule

(Exhibit “C”).



        3.2.     Tax Payment Procedures

                 (a) Plaintiffs’ counsel shall provide Defendants with the appropriate signed IRS

W2 and W9 forms within ten (10) days of execution of settlement agreement.

                 (b)    Although Plaintiffs and Defendants believe, in good faith, that the tax

treatment of the payments referred to in this Agreement and the procedures set forth in this

Agreement are proper and in compliance with applicable tax regulations, if, notwithstanding

such belief, the Internal Revenue Service or any other federal, state or local government,

administrative agency or court determines that Plaintiffs and/or Defendants are liable for any

failure to pay federal, state or local income or employment taxes with respect to the payments

made under Section 2.1 of this Agreement, or liable for interest or penalties related thereto,

Plaintiffs and Defendants shall each be responsible for their own portion of any such liability and

their own legal fees incurred in determining such liability.

        (c)      Plaintiffs acknowledge and agree that (i) this settlement may result in taxable

income to Plaintiffs under applicable federal, state and local tax laws; (ii) Defendants are

providing no tax, accounting or legal advice to Plaintiffs, and make no representations regarding

any tax obligations or tax consequences on Plaintiffs’ part relating to or arising from this

Agreement; (iii) Plaintiffs shall be solely responsible for all of their respective individual tax

obligations, including, without limitation, all federal, state and local taxes, and Plaintiffs shall not

seek any indemnification from Defendants with respect thereto; and (iv) Plaintiffs have been

advised that Defendants must comply with their obligations to make reports of such taxable



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income to the appropriate federal, state and local tax authorities, and issue IRS Forms as

appropriate.



          4.     Non-Admission of Liability

          The execution of this Agreement shall not be construed as an admission of any liability

whatsoever by the Defendants. Plaintiffs will not claim to be a prevailing party, to any degree or

extent.

          5.     Non- Disparagement. Plaintiffs agree that they will not make statements whether

written or oral, or electronic which disparage or encourage or induce others to disparage any of

the Released Parties. For the purposes of this Agreement, the term "disparage" includes, without

limitation, comments or statements made to peers in person to other person(s), on the internet

including email(s) or other internet sites including social media platforms Facebook ™,

Instagram ™, Twitter ™, and all other social media platforms, to the press and/or media, to any

Released Party or to any individual or entity with whom any of the Released Parties have a

business relationship which would adversely affect in any manner (i} the conduct of the business

of any of the Released Parties (including, without limitation, any business plans or prospects) or

(ii) the business or personal reputations of the Released Parties. This Paragraph does not apply to

truthful statements compelled by this litigation civil action no. 18-cv-4440, applicable law or

legal process, or to any statements made to a government agency or regulator. Plaintiffs agree

they will not disparage Individual or Corporate Defendants and Individual Defendants agree that

they shall likewise not disparage Plaintiffs.

          5.1.   Governing Law. This Agreement shall be construed as a whole in accordance

with its fair meaning and in accordance with the laws of the State of New York (without regard



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to its choice of law principles), as are applied to contracts to be performed wholly within the

State of New York.

       5.2.    Descriptive Headings. The headings used herein are for reference only and shall

not in any way affect the meaning or interpretation of this Agreement.

       5.3.    Severability.   In the event that any one or more of the provisions of this

Agreement shall be held to be invalid, illegal or unenforceable, the validity, legality and

enforceability of the remainder of the Agreement shall not in any way be affected or impaired

thereby. Moreover, if any one or more of the provisions contained in this Agreement shall be

held to be excessively broad as to duration, activity or subject, including but not limited to the

release set forth in Section 2 of this Agreement, such provisions shall be construed by limiting

and reducing them so as to be enforceable to the maximum extent allowed by applicable law.

       5.4.    Entire Agreement. This Agreement represents the sole and entire agreement

between the Settlement Parties and supersedes all prior agreements, negotiations and discussions

between the Settlement Parties hereto, and their respective counsel, with respect to the subject

matters covered hereby.

       5.5.    Drafter of this Agreement. In recognition of the fact that the Settlement Parties

hereto had an equal opportunity to negotiate the language of, and draft this Agreement, the

Settlement Parties acknowledge and agree that there is no single drafter of this Agreement and

therefore, the general rule that ambiguities are to be construed against the drafter is, and shall be,

inapplicable. If any language in this Agreement is found or claimed to be ambiguous, each party

shall have the same opportunity to present evidence as to the actual intent of the Settlement

Parties with respect to any such ambiguous language without any interference or presumption

being drawn against any party.



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       5.6.     Amendments. Any amendment to this Agreement must be in writing signed by

duly authorized representatives of each of the Settlement Parties hereto and stating the intent of

each party to amend the Agreement. Any written changes must be approved by the Court.

       5.7.     Counterparts.    This Agreement may be executed by each party in separate

counterparts, each of which shall constitute an original and the sum of which shall constitute one

document. A copy of a signature shall have the same force and effect as an original.

       6.       No Pending Actions. Plaintiffs and Plaintiffs’ counsel agree and represent that

other than the Civil Action 19-cv-02032 they have not filed and do not have any pending

charges, complaints, suits, or claims of any nature with any local, state, federal, or foreign

agency or court, including but not limited to the United States Department of Labor or the New

York State Department of Labor, against Defendants. Further, Plaintiffs’ counsel warrants that

they know of no other person(s), nor represent other persons for which there could be potential

claims as there was no collective action pursued in this litigation. Plaintiffs further agree that in

exchange for the promises and benefits provided in this Agreement, they will not file any such

claims in the future concerning any matter released by virtue of this Agreement, and they have

not or will not transfer or assign any rights to bring any charges, complaints, suits, or claims of

any nature against Defendants.

       7. Further Employee Acknowledgments

       7.1.     Plaintiffs acknowledge having consulted with their attorneys before signing this

Agreement and that this Agreement has given them an opportunity to do so and if applicable, I

have been explained the terms of this settlement in Mandarin and fully understand the terms set

forth herein.




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                                         EXHIBIT A


UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 COLIN LEI YIN, FANG WANG,
 YUEPING HUANG, and YU                               Case No. 1:18-CV-4440
 ZHANG, on behalf of themselves
 and all others similarly situated,                  STIPULATION                         OF
         Plaintiff,                                  DISCONTINUANCE

 v.

 CARIBBEAN BLUEWATERS GROUP, LLC
 d/b/a YIHAN SPA, “Amy” Su (first name
 unknown), and Geoffrey Allard,
                     Defendants.

           Pursuant to Federal Rule of Civil Procedure 41(a) (1) (A) (ii), this action is hereby
dismissed with prejudice, with the court retaining jurisdiction to enforce its terms.

Date:       New York, New York
            June ___, 2020




Anthony R. Portesy                                                Shan Zhu , Esq.
Varacalli & Hamra LLP                                             Hang & Associates PLLC
32 Broadway Suite 1818                                            136-20 38th Avenue, 10G
New York, NY 10002                                                Flushing, NY 11354
Tel. 646-590-0571                                                 Tel. 718-353-8588
aportesy@vhllp.com                                                szhu@hanglaw.com



                                                   SO ORDERED:


                                                   Honorable Nathaniel Fox, U.S.M.J.




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                                        EXHIBIT B

Settlement Payment Structure – Yin v. Caribbean Blue Waters Group

 DATE          Distribution    Distribution        Distribution   Distribution   Distribution
               to              to                  to             to             to YU
               HANG AND        COLIN LEI           FANG           YUEPING        ZHANG
               ASSOCIATE       YIN                 WANG           HUANG
               S
               as attorneys
 30 Days After $1272.22        193.43              $413.07        $88.06         $137.56
 Approval




 60 Days After $1272.22        193.43              $413.07        $88.06         $137.56
 Approval




 90 Days After $1272.22        193.43              $413.07        $88.06         $137.56
 Approval




 120    Days $1272.22          193.43              $413.07        $88.06         $137.56
 After
 Approval



 150    Days $1272.22          193.43              $413.07        $88.06         $137.56
 After
 Approval



 180    Days $1272.22          193.43              $413.07        $88.06         $137.56
 After
 Approval




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210 Days     $1272.22     193.43         $413.07   $88.06       $137.56
After
Approval



240 Days     $1272.22     193.43         $413.07   $88.06       $137.56
After
Approval



270 Days     $1272.22     193.43         $413.07   $88.06       $137.56
After
Approval



300 Days     $1272.22     193.43         $413.07   $88.06       $137.56
After
Approval



330 Days     $1272.22     193.43         $413.07   $88.06       $137.56
After
Approval



360 Days     $1272.22     193.43         $413.07   $88.06       $137.56
After
Approval




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DATE          Distribution   Distribution         Distribution    Distribution
              to             to                  to              to
              JIN YI         XIAO YIN            SHANSHAN        HAIGANG
                             JIN                 HUANG           GAN


30 Days After $47.26         $651.85             $299.31         $647.23
Approval




60 Days After $47.26         $651.85             $299.31         $647.23
Approval




90 Days After $47.26         $651.85             $299.31         $647.23
Approval




120    Days $47.26           $651.85             $299.31         $647.23
After
Approval



150    Days $47.26           $651.85             $299.31         $647.23
After
Approval



180    Days $47.26           $651.85             $299.31         $647.23
After
Approval




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210 Days     $47.26       $651.85        $299.31   $647.23
After
Approval



240 Days     $47.26       $651.85        $299.31   $647.23
After
Approval



270 Days     $47.26       $651.85        $299.31   $647.23
After
Approval



300 Days     $47.26       $651.85        $299.31   $647.23
After
Approval



330 Days     $47.26       $651.85        $299.31   $647.23
After
Approval



360 Days     $47.26       $651.85        $299.31   $647.23
After
Approval




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                                           EXHIBIT C

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 COLIN LEI YIN, FANG WANG,
 YUEPING HUANG, and YU                                          Case No. 2:17-cv-4881
 ZHANG, on behalf of themselves
 and all others similarly situated,                       CONFESSION OF JUDGMENT
         Plaintiff,

 v.

 CARIBBEAN BLUEWATERS GROUP, LLC
 d/b/a YIHAN SPA, “Amy” Su (first name
 unknown), and Geoffrey Allard,
              Defendants.
         Defendants.
STATE OF NEW YORK     )
                      )          ss.:
COUNTY OF __________ )

    Amy Su, personally and as an officer of Defendant CARRIBEAN BLUE WATERS
GROUP, LLC., being duly sworn, deposes and says:

       1.      I represent that I am an officer and shareholder of Corporate Defendant
CARRIBEAN BLUEWATERS GROUP LLC and that I have full authority to sign on behalf of
Blue Pacific Inc. and to legally bind it. I sign this Affidavit of Confession of Judgment both in my
individual and corporate capacity, and we are referred to herein as Defendants.

       2.     Defendants’ confess judgment herein and authorize entry of judgment by Plaintiffs
against Defendant CARRIBEAN BLUE WATERS GROUP.in the amount of SIXTY SEVEN
THOUSAND DOLLARS ($67,000.00), minus any amounts paid to date since the instant
confession has been signed in the event payment is not made and/or cured under the Settlement
Agreement in the above captioned action pursuant to the terms agreed to by the parties

       3.      I reside in the State of New York, and CARRIBBEAN BLUE WATERS GROUP
does business in the State of New York and hereby authorize entry of judgment against
defendants in the County of KINGS, State of New York.

       4.     This confession of judgment is for a debt due to Plaintiffs arising from a
Settlement Agreement.




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